       Case 3:21-cv-00198-SM-RLB            Document 217-1        03/03/22 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

SHARON LEWIS,                                                       CIVIL ACTION
    Plaintiff

VERSUS                                                              NO. 21-198-SM-RLB

LOUISIANA STATE UNIVERSITY
BOARD OF SUPERVISORS, ET AL
     Defendants

                     MEMORANDUM IN SUPPORT OF PLAINTIFF’S
                            MOTION TO LEAVE TO FILE
                        SECOND AMENDED COMPLAINT AND
                      FIRST AMENDED RICO CASE STATEMENT

       Plaintiff Sharon Lewis respectfully moves the Court, pursuant to Rule 15 of the Federal

Rules of Civil Procedure, for leave to file a SECOND AMENDED COMPLAINT and FIRST

AMENDED RICO CASE STATEMENT a copies of which is attached hereto. The new

complaint maintains the counts and allegations against the same defendants from the First

Amended Complaint, but accounts for the significant factual and procedural developments that

have occurred since the First Amended Complaint was filed, including Court’s Order and

Reasons issued on September 10, 2021(Doc. No. 107) and Order and Reasons issued on

December 2, 2021 (Doc. No. 165), and EEOC Right to sue letter. Plaintiff adds new claim of

wrongful termination arising under Title IX of the Education Amendments of 1972, 20 U.S.C §

1681 and Title VII of the Civil Rights Act of 1964 that is not time barred and relates back to

Plaintiff’s First Amended Complaint (FAC). Plaintiff has added new allegations in her Civil

RICO Claims that are consistent Court’s Order and Reasons (Doc. No. 165). Plaintiff also

requests leave to file First Amended RICO Case Statement that supports plaintiff ‘s Second

Amended Complaint and to comply with the RICO Case order issued by the court.




                                                 1
          Case 3:21-cv-00198-SM-RLB            Document 217-1       03/03/22 Page 2 of 4




          ARGUMENT

      Rule 15 governs motions to amend made before trial and provides that “[t]he court should

freely give leave when justice so requires.” Federal Rule 15(a)(2). Rule 15(a) ‘evinces a bias in

favor of granting leave to amend.’” Herrmann Holdings Ltd. v. Lucent Techs. Inc., 302 F.3d 552,

566 (5th Cir. 2002) (quoting Dussouy v. Gulf Coast Inv. Corp., 660 F.2d 594, 598 (5th Cir.

1981)). A movant is required to give the court some notice of the nature of his or her proposed

amendments. “[I]n order to take advantage of the liberal amendment rules as outlined in the

Federal Rules of Civil Procedure, the party requesting amendment, even absent a formal motion,

need only ‘set forth with particularity the grounds for the amendment and the relief sought.’”

United States ex rel. Doe v. Dow Chem. Co., 343 F.3d 325, 330–31 (5th Cir. 2003) (quoting

United States ex rel. Willard v. Humana Health Plan of Tex. Inc., 336 F.3d 375, 386–87 (5th Cir.

2003)).

          None of the factors that may militate against granting a motion to amend is present in this

case. Plaintiff is not seeking the amendment in bad faith or with a dilatory motive. Plaintiff

moved timely to amend complaint in compliance with the Court’s Order and Reasons (Doc. No.

165). The interests of justice and judicial economy will undoubtedly be served by having all

allegations properly before the Court as set forth in Plaintiff’s proposed SECOND AMENDED

COMPLAINT. Plaintiff also seeks to amend to include Title VII claims pursuant to EEOC Right

to sue letter. The amendments are narrowly tailored to reflect the present circumstances and

Plaintiff’s present understanding of the case. In so doing, the action can more effectively proceed

on the merits.

          Defendants will not suffer any undue prejudice by virtue of the Court’s allowance of the

proposed amendment. The determination of whether prejudice would occur often includes




                                                   2
        Case 3:21-cv-00198-SM-RLB             Document 217-1        03/03/22 Page 3 of 4




assessing whether allowing an amendment would result in additional discovery, cost, and

preparation to defend against new facts or new theories. Defendants cannot be prejudiced, or

caught off guard, as none of them have filed an answer in the case. The proposed SECOND

AMENDED COMPLAINT does not involve the addition of any new defendants. No prejudice

would result to Defendants in allowing the amendment under these circumstances.

        Finally, plaintiff’s request to file an amended complaint is not futile as plaintiff has

alleged sufficient facts to state a claim for relief that is facially plausible. Where the proposed

amendment is not clearly futile, denying leave to amend on this ground is highly improper.

       Accordingly, in the interest of justice, this Court should grant plaintiff’s motion for leave

to file the proposed amended complaint and amended RICO Case Statement. The grant of this

motion is particularly appropriate here, given the clear absence of any substantial reason to deny

leave to amend.

                                       CONCLUSION


       For the reasons identified above, Sharon Lewis requests the Court grants her Motion for

leave to file the proposed SECOND AMENDED COMPLAINT and FIRST AMENDED RICO

CASE STATEMENT.

        WHEREFORE PREMISES CONSIDERED, Plaintiff Sharon Lewis pray that this court

grant the foregoing Motion for leave to file SECOND AMENDED COMPLAINT and FIRST

AMENDED RICO CASE STATEMENT


                                                       Respectfully submitted:

                                                       /s/ Larry English
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                                                  3
       Case 3:21-cv-00198-SM-RLB          Document 217-1       03/03/22 Page 4 of 4




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                                    Counsel for Plaintiff Sharon Lewis

                              CERTIFICATE OF SERVICE

      The undersigned certifies that a copy of the foregoing was served on all counsel of record

using the Court’s CM/ECF system on March 3, 2022.


                                                   /s/ Larry English




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